Case 8:20-cv-01928-JLS-KES Document 20 Filed 12/09/20 Page 1 of 2 Page ID #:60



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  7
                         UNITED STATES DISTRICT COURT
  8                     CENTRAL DISTRICT OF CALIFORNIA
  9
 10 JAMES RUTHERFORD, an                  Case No.: 8:20-cv-1928-JLS-KES
 11 individual,
                                          Hon. Josephine L. Staton
 12 Plaintiff,
 13                                       NOTICE OF SETTLEMENT AND
    v.                                    REQUEST TO VACATE ALL
 14                                       CURRENTLY SET DATES
 15
    MARSHALLS OF CA, LLC, a               Complaint Filed: October 6, 2020
 16 Virginia limited liability company;
    ROIC SANTA ANA, LLC, a                Trial Date: None Set
 17
    Delaware limited liability company;
 18 and DOES 1-10, inclusive,
 19 Defendants.
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                                  NOTICE OF SETTLEMENT
Case 8:20-cv-01928-JLS-KES Document 20 Filed 12/09/20 Page 2 of 2 Page ID #:61



  1        The Plaintiff hereby notifies the Court that a global settlement has been
  2 reached in the above-captioned case and the Parties would like to avoid any
  3 additional expense, and to further the interests of judicial economy.
  4        The plaintiff, therefore, applies to this Honorable Court to vacate all currently
  5 set dates with the expectation that the Voluntary Dismissal with prejudice, as to all
  6 parties, will be filed within 45 days.
  7
  8
  9 Dated: December 9, 2020                        MANNING LAW, APC
 10
 11                                          By:   /s/ Joseph R. Manning, Jr. Esq.
                                                   Joseph R. Manning, Jr., Esq.
 12                                                Attorneys for Plaintiff
 13                                                James Rutherford

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                                    NOTICE OF SETTLEMENT
